 8:06-cr-00304-LSC-TDT         Doc # 99     Filed: 01/22/07     Page 1 of 2 - Page ID # 207




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:06CR304
                      Plaintiff,                    )
                                                    )          REPORT AND
       vs.                                          )
                                                    )      RECOMMENDATION
MIGUEL ROMERO,                                      )
                                                    )         ON GUILTY PLEA
                      Defendant.                    )

       On January 19, 2007, defendant Miguel Romero (Romero), together with his
counsel, Stefanie A. Martinez, appeared before the undersigned magistrate judge. Elsa
Vasquez, a certified interpreter in the Spanish language, served as the interpreter by
remote telephone hook-up. Romero was advised of the charges, the penalties and the
right to appear before a United States District Judge. After orally consenting to proceed
before a magistrate judge, Romero entered a plea of guilty to Count I of the Superceding
Indictment.
       After being sworn, Romero was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. Romero also
was given the advice required by that Rule. Finally, Romero was given a full opportunity
to address the court and ask questions.
       Counsel for the government and counsel for Romero were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Romero’s plea of guilty to Count I of the Superceding Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other
provisions of the law governing the submission of guilty pleas have been complied with; (4)
a petition to enter a plea of guilty, on a form approved by the court, was completed by
Romero, Romero’s counsel and counsel for the government, and such petition was placed
in the court file (Filing No. 92); (5) the plea agreement is in writing and is filed in the court
file (Filing No. 90); (6) there were no other agreements or stipulations other than as
contained in the written plea agreement.
 8:06-cr-00304-LSC-TDT         Doc # 99     Filed: 01/22/07    Page 2 of 2 - Page ID # 208




       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.       She accept the guilty plea and find the defendant, Miguel Romero, guilty of
the crime set forth in Count I of the Superceding Indictment to which Romero tendered a
guilty plea;
       2.       She not accept the written plea agreement at this time as it contains a
provision under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the
time of sentencing.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.     Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 22nd day of January, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge




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